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                          THE UNITED STATES BANKRUPTCY COURT
                           FOR THE EASTERN DISTRICT OF TEXAS
                                   SHERMAN DIVISION

IN RE:                                               §
                                                     §
SIDHARTHA MUKHERJEE                                  §      CASE NO. 23-41386-R
XXX-XX-1040                                          §
3905 KITE MEADOW DRIVE                               §      CHAPTER 13
PLANO, TX 75074                                      §
                                                     §
SUNITA MUKHERJEE                                     §
XXX-XX-5871                                          §
                                                     §
DEBTORS                                              §


       TRUSTEE’S OBJECTION TO MOTION FOR PAYMENT OF ATTORNEY’S FEES AS
                           ADMINISTRATIVE EXPENSE

   Carey D. Ebert, the Standing Chapter 13 Trustee, files this Objection to Motion for Payment of
Attorney’s Fees as Administrative Expense and would show:

    The Debtors’ attorney has requested approval of attorney’s fees. Debtors converted their case and
has not consented in writing to the Application or Order. While the fees may be approved, the Trustee
must return the funds on hand to the Debtor pursuant to Harris v. Viegelahn, 135 S.C.t 1829 (2015).
Consequently, any order should direct the Trustee to not pay the Applicant absent entry of an order
agreed to by the Debtor. The Trustee is also required to hold the balance on hand until further order of
the Court.

    WHEREFORE, PREMISES CONSIDERED, Carey D. Ebert, the Standing Chapter 13 Trustee,
prays that the Court enter an order disallowing the attorney’s fees requested absent an order agreed to by
the Debtor.


                                                   Respectfully submitted,

                                                   /s/ H. Jefferson LeForce
                                                   Carey D. Ebert, TBN 05332500
                                                   H. Jefferson LeForce, TBN 00791094
                                                   Office of the Standing Chapter 13 Trustee
                                                   500 North Central Expressway, Suite 350
                                                   Plano, TX 75074
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                                     CERTIFICATE OF SERVICE
           This is to certify the foregoing has been served on: (a) the parties listed below by either first
class mail, the Court’s electronic filing system (ECF), or by electronic means the recipient has consented
to in writing; (b) all other parties receiving ECF notice; and (c) on any other party as listed in any
additional certificate of service filed in connection with this pleading.

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Dated: March 19, 2024                         /s/ H. Jefferson LeForce
                                              Office of the Standing Chapter 13 Trustee




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